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 The following constitutes the ruling of the court and has the force and effect therein described.



 Signed September 26, 2023
                                            United States Bankruptcy Judge
 ______________________________________________________________________



BTXN 060 (rev. 10/19)
                              UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF TEXAS

In Re:                                                 §
Eagle Trans, Inc.                                      §     Case No.: 23−42505−elm11
                                                       §     Chapter No.: 11
                                      Debtor(s)        §

                                         ORDER DISMISSING CASE

The Debtor(s), having been given notice that this case would be dismissed upon the failure to timely file:

             Pay the required filing fee in installments as directed in the Order regarding the
             Application to Pay Filing Fee in Installments, or Order denying/revoking the
             Application for Waiver of the Chapter 7 Filing Fee.
             List of creditors required to be filed with the petition by N.D.TX L.B.R. 1007−1(a)
             within 48 hours from the issuance of the Notice of Deficiency
             Schedules A/B, D, E/F, G, and H pursuant to Fed. R. Bankr. P. 1007(c) within 14 days
             of the filing of the Petition
             Declaration for Electronic Filing III(B)(3) within 7 days of the filing of the Petition.
             Declaration About an Individual Debtor's Schedules (Official Form 106Dec) within 14
             days of the date of the filing of the petition.
             Declaration Under Penalty of Perjury for Non−Individual Debtors (Official Form 202)
             within 14 days of the date of the filing of the petition.
             Statement of Financial Affairs pursuant to Fed. R. Bankr. P. 1007(c) within 14 days of
             the filing of the Petition
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        Plan/Plan Summary pursuant to Fed. R. Bankr. P. 3015 within 14 days of the filing of
        the Petition
        List of twenty largest unsecured creditors within 48 hours of the date of the filing of
        the Petition
        Social Security/Tax ID number within 48 hours from the issuance of the Notice of
        Deficiency
        Form 121 within 48 hours of the date of the Petition
        Summary of Assets and Liabilities (Official Form 106Sum/206Sum) within 14 days of
        the date of the filing of the Petition
        A complete original petition was not filed within 3 days from the issuance of the
        Notice of Deficiency
        Certificate of completion from an approved credit counseling course completed within
        180 days of the date of the filing of the Petition
        Copies of employee income records within 14 days of the date of the filing of the
        Petition
        Statement of Current Monthly Income within 14 days of the date of the filing of the
        Petition
        Chapter 15 Service List within 14 days of the date of the filing of the Petition
        Cash Flow Statement within 7 days of the date of the filing of the Petition
        Balance Sheet within 7 days of the date of the filing of the Petition
        Statement of Operations within 7 days of the date of the filing of the Petition
     All required documents pursuant to 11 U.S.C. § 521 within 45 days of the filing of the
     Petition
     Other:
ORDERED that this case is DISMISSED; and it is further
ORDERED that this Order shall not be deemed a bar to refiling under 11 U.S.C. §109(g).

                                      # # # End of Order # # #
